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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

WILDEARTH GUARDIANS, et al.,                    )
                                                )
      Plaintiffs,                               )
                                                )
      v.                                        ) Case No. 1:16-cv-01724-RC
                                                )
DAVID BERNHARDT, et al.                         )
                                                )
      Defendants.                               )


 UNOPPOSED MOTION BY THE STATE OF COLORADO TO WITHDRAW
               AS INTERVENOR DEFENDANT



      The State of Colorado, under Fed. R. Civ. P. 7(b), respectfully moves the

Court to withdraw as an Intervenor Defendant in this case. Counsel discussed this

motion with all parties, as required by LCvR 7(m). No party opposes this motion.

      This voluntary withdrawal is appropriate because there is no direct claim

made against Colorado and because Colorado’s withdrawal will not materially

prejudice the rights of the other parties. Colorado requests that all parties bear

their own costs.
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Dated this 17th day of April, 2019.


                                 Respectfully submitted,


                                 PHIL WEISER
                                 Colorado Attorney General

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